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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA

       v.                                         Crim. No. 21-10200-RGS

ABHIJIT DAS,

       Defendant




    DEFENDANT’S ASSENTED-TO MOTION TO CHANGE SENTENCING DATE

       Defendant Abhijit Das respectfully moves that the Court reschedule the date of his

sentencing from May 24, 2024, to May 29, 2024. The extension is in the interests of justice. The

Government assents to this Motion.



 Dated: April 9, 2024                            Respectfully submitted

                                                 Abhijit Das, by his counsel:

                                                 /s/ Michael Kendall
                                                 Michael Kendall (BBO # 544866)
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Assented To:


___/s/_Neil Gallagher_______
Assistant United States Attorney
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                               CERTIFICATE OF SERVICE
       I hereby certify that the above document was filed on the date appearing in the header of

this page through the ECF system, which will send true copies of the document to the attorneys

of record for each party.

                                                    /s/ Michael Kendall




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